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 1                         IN THE UNITED STATES DISTRICT COURT FOR THE
                                     DISTRICT OF PUERTO RICO
 2

 3   UNITED STATES OF AMERICA,                           CIVIL CASE NO. 24- 1334(CVR)
 4   Plaintiff,
 5                          v.
 6   WALTER PIERLUISI-ISERN, MARCIA DE
     LOS ANGELES GONZÁLEZ-COYA
 7   FERNÁNDEZ, ET AL.,
 8   Defendant.
 9
                                              MOTION TO WITHDRAW
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     TO THE HONORABLE COURT:
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             COMES NOW, Defendant MARCIA DE LOS ANGELES GONZÁLEZ-COYA FERNÁNDEZ,
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     by and through undersigned counsel and states and requests, as follows:
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             The subscriber requests authorization to withdraw from the representation of Defendant Marcia
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     De Los Angeles Gonzalez-Coya Fernandez (“Marcia”) and that she be granted until 11/12/2024 to retain
15
     legal counsel and answer the Complaint or otherwise plead
16
             THEREFORE, the defendant, respectfully requests that the Honorable Court grant this motion.
17

18    Respectfully Submitted, this September 13, 2024.

19           We hereby certify that this document was filed through the Court’s CM/ECF System which will
20 notify all parties.

21

22           S/José R. Olmo-Rodríguez
             José R. Olmo-Rodríguez
23           USDCPR 213405
             261 Domenech Ave, SJ PR 00918
24           7877583570/jrolmo1@gmail.com
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